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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )           Case No.: CR09-0183-RSM
10         v.                             )
                                          )
11   ANNETTA MARTIN,                      )           ORDER REVOKING BOND
                                          )           AND DETENTION ORDER
12               Defendant.               )
     ____________________________________ )
13

14 Offenses Charged:

15          Conspiracy to Distribute Methamphetamine

16 Bond Revocation:

17          On June 10, 2009, defendant appeared at her detention hearing held before the

18 undersigned Magistrate Judge after which defendant was released on an appearance bond that

19 included restrictions that she not commit any violations of law.

20          On June 18, 2009, Pretrial Services filed a Petition for Warrant for Defendant Under

21 Pretrial Services Supervision, alleging that the defendant had violated the terms and

22 conditions of her bond as follows:

23          1.     Annetta Martin has violated the bond condition that she not use a controlled

24                 substance, unless the substance is prescribed by a physician, by using

25                 methamphetamine on June 10, 2009.

26          2.     Annetta Martin has violated the bond condition that she not use a controlled

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01                  substance, unless the substance is prescribed by a physician, by using

02                  methamphetamine on June 16, 2009.

03          On June 19, 2009, the defendant made her initial appearance at a bond revocation

04 hearing before the undersigned Magistrate Judge. She was advised of her rights in connection

05 with the Petition for Warrant for Defendant Under Pretrial Services Supervision. Defendant

06 denied the violations and an evidentiary hearing on revocation of supervised release was set

07 for June 24, 2009.

08          On June 24, 2009, defendant appeared at a bond revocation hearing before the

09 undersigned Magistrate Judge. She was advised of the allegations and admitted the

10 violations.

11          Pursuant to CrR 32.1, CrR46(c) and 18 U.S.C. § 3142(f), and based upon the factual

12 findings and statement of reasons for detention hereafter set forth, finds:

13 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

14          (1)     On June 10, 2009, defendant was released on bond with pretrial supervision

15 and special conditions.

16          (2)     The defendant has failed to abide by the terms of her bond.

17          (3)     There appear to be no conditions or combination of conditions other than

18 detention that will reasonably assure the defendant’s appearance at future Court hearings as

19 required, and that will address the risk of the defendant’s danger to the community.

20          IT IS THEREFORE ORDERED:

21          (1)     Defendant’s bond is hereby revoked;

22          (2)     Defendant shall be detained pending trial and committed to the custody of the

23                  Attorney General for confinement in a correction facility separate, to the

24                  extent practicable, from persons awaiting or serving sentences or being held in

25                  custody pending appeal;

26          (3)     Defendant shall be afforded reasonable opportunity for private consultation

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01              with counsel;

02        (4)   On order of a court of the United States or on request of an attorney for the

03              government, the person in charge of the corrections facility in which

04              defendant is confined shall deliver the defendant to a United States Marshal

05              for the purpose of an appearance in connection with a court proceeding; and

06        (5)   The Clerk shall direct copies of this Order to counsel for the United States, to

07              counsel for the defendant, to the United States Marshal, and to the United

08              States Pretrial Services Officer.

09        DATED this 29th day of June, 2009.

10

11                                             A
                                               JAMES P. DONOHUE
12                                             United States Magistrate Judge

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